Case 5:12-cr-04074-MWB-CJW   Document 252   Filed 06/14/13   Page 1 of 6
Case 5:12-cr-04074-MWB-CJW   Document 252   Filed 06/14/13   Page 2 of 6
Case 5:12-cr-04074-MWB-CJW   Document 252   Filed 06/14/13   Page 3 of 6
Case 5:12-cr-04074-MWB-CJW   Document 252   Filed 06/14/13   Page 4 of 6
Case 5:12-cr-04074-MWB-CJW   Document 252   Filed 06/14/13   Page 5 of 6
Case 5:12-cr-04074-MWB-CJW   Document 252   Filed 06/14/13   Page 6 of 6
